
In re Wyly, Captan Jack; Disciplinary Counsel; — Plaintiff(s); Applying for Transfer to Disability Inactive Status, Office of the Disciplinary Board, No. 00-PDB-016.
ORDER
Considering the Petition to Transfer to Disability Inactive Status filed by Respondent, and the findings and recommendation of the hearing committee,
IT IS ORDERED that respondent be and he hereby is transferred to disability inactive status, pursuant to Supreme Court Rule XIX, § 22(C).
Pursuant to Supreme Court Rule XIX, § 26(E), this order shall be effective immediately.
/s/ Harry T. Lemmon Justice, Supreme Court of Louisiana
